






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00540-CR






Christopher Cheek, Appellant



v.



The State of Texas, Appellee






FROM THE COUNTY COURT AT LAW NO. 2 OF COMAL COUNTY


NO. 2006CR1866, HONORABLE CHARLES A. STEPHENS II, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Christopher Cheek seeks to appeal his conviction for driving while license
suspended.&nbsp; Sentence was suspended on June 10, 2008, but the notice of appeal was not filed
until&nbsp;August 13, 2008.  See Tex. R. App. P. 26.2(a)(1).  In the notice of appeal, Cheek's counsel
acknowledges that the notice was not timely, but urges that "[t]he plan was to file a notice, but trial
counsel became very sick and pre-occupied" with other matters.

When a notice of appeal is untimely, we lack jurisdiction to dispose of the purported
appeal in any manner other than by dismissing it for want of jurisdiction.  See Slaton v. State,
981&nbsp;S.W.2d 208 (Tex. Crim. App. 1998); Olivo v. State, 918 S.W.2d 519, 522-23 (Tex. Crim. App.
1996).  Cheek may be entitled to an out-of-time appeal under the circumstances, but he must seek
it by means of a post-conviction habeas corpus petition.  See Tex. Code Crim. Proc. Ann. art. 11.072
(West 2005).

The appeal is dismissed.



				__________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Waldrop and Henson

Dismissed for Want of Jurisdiction

Filed:   October 17, 2008

Do Not Publish


